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      1                                                        UNITED STATES DISTRICT COURT
                                                               EASTERN DISTRICT OF NEW YORK
      2

      3
          UNITED STATES OF AMERICA,                                            :
      4                                                                                CR-03 - 92 9

      5                                    -against-                                   United S t a t e s Courthouse
                                                                                       Brooklyn, New York
      6   JOSEPH MASSINO,                                                                       ,     .   I.   ,.

          PATRICK DeFILIPPO,
      7   EMANUEL GUARAGNA,
          JOHN SPIRITO,
      8   ANTHONY FRASCONE ,
          ANTHONY SIANO,
      9   RUSSELL TRUCCO,
     10                                        Defendants.
                                                                                       April 2, 2004
     11                                                                                2:OO o'clock p.m.
          *   -        .   .   +   -   *   -   _   _   _   _    _   _   _
                                                                              - x
     12
                                                                T M S C R I P T OF STATUS CONFERENCE
'    13                                                    BEFORE THE HONORABLE NICHOWS G. G m U F I S
                                                                 UNITED STATES DISTRICT JUDGE
     14
          APPEARANCES :
     15
          For the Plaintiff:                                                ROSLYNN R . MAUSKOPF
     16                                                                     United States Attorney
                                                                            BY: GREG ANDRES, MITRA HORMOZI,
     17                                                                     NICK BOURTIN, and ROBERT HENOCH
                                                                            Assistant United States Attorneys
     18                                                                     225 Cadman ,Plaza East
                                                                            Brooklyn, New York 11201
     19
          For the Defendant:                                                DAVID BREITBART, ESQ.
     20                                                                     GLORIA EDWARDS, ESQ.
                                                                            For J. Massino
     21
                                                                            RICHARD LEVITT, ESQ.
     22                                                                     JEAN BARRETT, ESQ.
                                                                            For P. DeFilippo
     23
                                                                            MURRAY RICHMOND, ESQ.
     24                                                                     For J. Spirito
     25                                                                     MICHAEL BACHRACH, ESQ.
                                                                            For A. Frascone

                  .-       \               HENRY R. SHAPIRO                         OFFICIAL COURT -REPORTER
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  1                                  HAROLD FAHRINGER, ESQ.
                                     For A . Siano
  2
                                     JOHN IANNUZZI, ESQ.
  3                                  For R. Trucco

  4

  5     Court Reporter:              Henry R. Shapiro .              I
                                                                         1
                                                                             I
                                                                                 .
                                                                                     .   6 9



                                     225 Cadman Plaza East
  6                                  Brooklyn, New York
                                     718-260-2509
  7                                                  I




  8     Proceedings recorded by mechanical. stenography, transcript
        produced by CAT.
  9

 10

 11

 12

 13

 14                THE CLERK:     United States versus Massino, et al.

 15                THE COURT:     This is 03-CR 929.

 16                MR. ANDRES:     Greg Rndres, N i c k Bourtin, Mitra

 17     Hormozi, and Robert Henoch.             ..

 1&                MS. EDWARDS:     For Mr. Massino, Gloria Edwards4and

 19     David Breitbart, your Honor.

 2 0.              THE COURT:     Good afternoon. Mr. Stern, i s # n o t here:

 21                MR. BREITBART:     He is on one of those litigation

 22     t r i p s to Egypt.                              )   .   ’


 23                THE COURT:     Patrick DeFilippo. Good afternoon.

 24                MR. LEVITT:     Richard Levitt for Mr. DeFilippo, along
 25     with Jean Barrett Lloyd Epstein.

                                                                                                   .
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                                        THE COURT:     Anything else?

                             ~          MR. ANDRES:.    No, Judge.

                                        MR. BOURTIN:     NO.

                                        THE COURT:     W e also have a motion - - I .have a motion



*   ,   ^   .                .          MR. BOURTIN:     Yes, sir.

                                 # :    THE COURT:     I have considered the arguments here a n d L




                                        Mr. DeFlilippo, argues that t h e opportunity to




                                       - The Department of Justice, U . S . Attorney's Manual,


                      rights enforceable by law. S u c h rights include those relating



                                        "Provides only Department of Justice Guidance.           It




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                                     1    law by any party in any matter civil or criminal."

                                     2              -In "the manual" the Department of Justice does offer

                                     3    defense Counsel,       reasonable opportunity to present any           -   .

                                     4    facts, including any mitigating factors ta the United States

                                     5    Attorney for consideration. This, however, does not\.
                                                                                              alter<-the

                                     6    fact that no right to discovery is created-by 11the7manua11t.
'        ,                                -(ThusMr. DeFilippo's argument for expanded-discoveryrights

                                '    8    due to this opportunity to present precertification mitigation
                                     9    evidence fails.    .                                  .,


                                                    The government is not required to turn over Brady or

                                    11    Giglio materials at this stage ofrthe procee

                                    -12 DeFlilippo argues in his motion the goveunmenkTisrequired'to

                                    13    turn over Brady and Giglio materials to the defense so that

                                          his lawyers may use such material to prepare their

                                          pre-certification mitigation letter to-theDepartment of
         -,
                                    16. Justice.     The Courtafinds, however, that the request f o r Brady

                    .7              17    and.Giglio materialslis premature.

                                    18.         b   In United States v Brady, the Supreme Court -held that
                                ,19 t h e prosecution may not suppress evidence>favorable,to
                                                                                           the

                                          defense as to guile...orpunishment.                     r . , which
                                                                                 GigPiol -materia-;l

                                          *requiresIdisclosure of evidence effecting the credibility of

                                          witness who's reliability may be dispositive of guilt or.,.            I




                                          innocence falls within the Brady rule.    .




                                                    In U.S. v Coppa, the Second Circuit reversed the .
                                          ruling of a judge in this district who granted a defense

    --       -     ~ . . -_ -                                                                                            I

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                                     its exculpatory and impeachment material after the indictment

                                                ed in a case but before trial date 'was set. The

                                      oppa court held the obligation to turn,-cswerBrady and Giglio

                                                s not triggered by a defendant"s request that may be                ~




                                       de at any t'ime after an indictment i,s.returned.The Court

                                                                               .
                                                                                   .   #
                                                                                       I
                                                                                           -




                                               "As long *as a defendant pussesses Brady evidence in

                                                ts effective use, the government has not deprived

                                                ant of!due process of law simplpbecause it did not

                                                e evidence sooner.    There i s t . n o Brady violation

                                                re is a reasonable probability-that earlier                 x


                                                 of the evidence would have produced a different

                            14   1   result at trial.

                            15                As the obligation to turnover Brady and Giglio

                            16       evidence -is "independent of a defendant's -request", it is . t h e        '




                            17       government's zesponsibility to provide any such evidence that,

                   .        1 8 " isgmaterial no 1ater.than the time at which the.outcome of the

                            19       tria1;would have been different if*an,earlierdisclosure had

                           $20       been-made. At this time, there is no dzte set f o r Mr

                       I    21 ' DeFlilippo's ,trialand it        is not at allrlikel, hat(.itwill
                            22       occur before 2005.   It is true that death.isl--an
                                                                                      extremely,

                            23       serious penalty, i n fact, the most serious penalty.        It is of

                            24       utmost importance that a defendant eligible for the death

                            25       penalty have access to exculpatory and impeachment evidence.

- -   --   .   -       . __._.                                                                                      1

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                                            The government must honor its Brady and Giglio obligations

                                            produce this evidence in time f o r its effective use at t.rial:

                                            Given the Second Circuit's Coppa decision; and the fact . t h a t -

                                            this decision is not altered bysthe manual,'-however,
                                                                                                the, -

                                    5       government is not now required to 'turn over .such evidence .and+>>                     I




I   C
                                            the Court is not going to exercise .itsr.discretionin-ordering.

                               7            the government t o t u r n over such evidence;

                               *8                         .With respect to Rule 16 material, Mr. *DeFlilippo

                              , 9 asserts that the government has not fulfilled its requireme

                                            under,RuTe*LGto turn over the applicable evidence upon its                      I




             '                *11 .request. The government recognizes its o b l i g a t i o n under Rule                            - (




                                            16 and must abide by them.            I f theigovernment, in fact, b a s ' -

                              13            not complied with its continuing Rule 16 obligation the Court

                              14            orders that it do so forthwith.
                 ,*           15                           Is there anything else f o r today in the 03-929rcase?

                                                          MR. BOURTIN:     No, your Honor.
        - ,
        ,.                7   17                          THE COURT:. Thank you very much.

                                                      *   1,willexcuse the defendants i n 03-929, except .for                   1




                                            Mr, Massino, and we'll continue with a status conference'in

                                            02-307.

                                        >     +           ,Do you have-something e l s e ? , .              1 /




                              22                          MS. BARRETT:     May I approach?

                                3
                              +>2                         THE COURT:     Yes, of course.
                      ~       -24                         MS. BARRETT:     Thank you.

                  .           25                          THE COURT:     Just one minute.


                                    . .                    HENRY R. SHAPIRO         OFFICIAL COURT REPORTER       ..
